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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 IN RE: 3M COMBAT                   ARMS         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                 Judge M. Casey Rodgers
 This Document Relates to All Cases              Magistrate Judge Gary R. Jones


                    PRETRIAL ORDER NO. 17
        ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
          AND SHORT FORM COMPLAINT FOR FILED CASES

1.      This Order applies to all product liability cases currently pending in MDL

        No. 2885 and to all related actions that have been or will in the future be

        originally filed in, transferred to, or removed to this Court and assigned

        thereto (collectively, “these MDL proceedings”). This Order is binding

        on all Parties and their counsel in all such cases.

2.      In light of the number of product liability complaints filed to date and likely

        to be filed in the future in these MDL proceedings, and the inefficiencies

        of drafting those complaints and individual answers to those complaints,

        and also in order to streamline the process for the Court’s consideration of

        dispositive motions, the Parties have agreed to the use of master

        pleadings. This Order is not intended to alter the applicable provisions of

        the Federal Rules of Civil Procedure or the Local Rules of this Court,

        except as otherwise provided herein or in any subsequent Pretrial Order.
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3.      The Plaintiffs’ Steering Committee (“PSC”) has filed a Master Complaint

        on behalf of all Plaintiffs asserting personal injury and product liability

        claims in these MDL proceedings. See ECF No. 704.

4.      The Plaintiffs’ Steering Committee (“PSC”) has filed a Short Form

        Complaint on behalf of all Plaintiffs asserting personal injury and product

        liability claims in these MDL proceedings, which is an abbreviated form

        that Plaintiffs will complete in lieu of filing standalone complaints. See

        ECF No. 705.

5.      All Plaintiffs with a case pending in this MDL as of the date of this Order

        must file a Short Form Complaint within 20 days of the date of this Order.

6.      Any Plaintiff whose case becomes part of this MDL after the date of this

        Order, either by a direct filing and assignment to this Court (if permitted

        by subsequent order of the Court) or by transfer from another district or

        from another judge in this district, must file a Short Form Complaint within

        20 days from the date of transfer or, if originally filed in this district,

        assignment to this Court.

7.      All future cases directly filed into MDL 2885 following entry of this Order

        must use the Short Form Complaint.

8.      For purposes of the application of the statutes of limitation and/or repose,

        a Plaintiff will be deemed to have filed his or her complaint as of the date



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        of filing of that Plaintiff’s original complaint, not the date of filing of the

        Master Complaint or Short Form Complaint.

9.      There must be a separate Short Form Complaint filed for each individual

        plaintiff. No plaintiff may directly file a non-short form complaint in

        this MDL. In the event that any plaintiff was a member of a multi-

        plaintiff complaint prior to transfer this MDL, each plaintiff must file a

        separate short form complaint under a separate docket number.

10.     By October 31, 2019, the Defendants named in the Master Complaint must

        file a Master Answer on the MDL docket.

11.     As of the date on which each Defendant’s Master Answer is filed, it will

        be deemed to have been filed in every current or future case against that

        Defendant in the MDL proceedings, without any further action required by

        that Defendant.

12.     The adoption of the Master Answer in every case is without prejudice to

        Defendants later moving to dismiss certain counts alleged in the Master

        Consolidated Complaint (at the appropriate time in any individual

        Plaintiff’s action), asserting any affirmative defenses, filing an Amended

        Answer to address specifically any individual Complaints described below,

        or otherwise challenging the sufficiency of any claim or cause of action in

        any Complaint under the applicable state’s law, including cases that may



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      be selected for inclusion in a discovery pool or bellwether trial pool. Any

      proposed Order submitted to this Court for a process of selecting cases for

      inclusion in a discovery pool or bellwether trial pool must include a

      proposed procedure for the filing of dispositive motions applicable to those

      cases. Furthermore, by agreeing to the procedures for filing the Master

      Consolidated Complaint and Short Form Complaints, Defendants have not

      agreed to or admitted the allegations set forth in those documents, nor have

      Defendants conceded or waived their right to dispute the legal validity of

      the claims alleged therein.

13.   As set forth herein, after the Master Answer has been filed in this MDL No.

      2885, it will be deemed adopted in every case. As a result, following the

      filing of the Master Answer, any Plaintiff who wishes to voluntarily

      dismiss any case filed in or transferred to this MDL must comply with

      Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

      DONE AND ORDERED, on this 16th day of October, 2019.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




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